






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00790-CV






Wanda F. Look, as Trustee of the Dwight Look Revocable Trust and as Independent
Executor of the Estate of Dwight Look, Deceased,

Appellant


v.


Marion Look-Jameson, Guardian of the Estate of R. L. J., a Minor and Linda Look,
Appellees






FROM THE PROBATE COURT NO. 1 OF TRAVIS COUNTY, 

NO. 83,252, HONORABLE GUY S. HERMAN, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant Wanda F. Look, as trustee of the Dwight Look Revocable Trust and as
independent executor of the Estate of Dwight Look, deceased, and appellees Marion Look-Jameson,
Guardian of the Estate of R. L. J., a minor, and Linda Look have filed a Joint Motion to Dismiss this
appeal.  They represent that all parties to the appeal have settled their disputes.

		We grant the Joint Motion to Dismiss and dismiss this appeal.


						                                                                                    

						G. Alan Waldrop, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Dismissed on Joint Motion

Filed:   January 9, 2008


